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15. a. Arraignment and/or Plea
b. Bail and Detention Hearings
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h. Other (Specify on additional sheets)
(Rate per hour - $ ) TOTALS:
16. a. lntcrviews and Conferenccl
g b. Obtainlng and reviewing records
o c. Legal research and brief writing
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FROM To IF o'rHcR 'mAN cAsE coMPLE'rIoN
12. CLAIM STA'I`US |:1 Flaal Paymeot D Iaterlm Paymeot Numb¢r _ f:| Supplemen¢al I»‘aymcnt
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23. IN COUR'I` COMP. 24. OUT OF COURT COMP. 25. TR.AVEL EXPENSES 26. OTHER EXPENSES 21. TCTAL AMT. APPR f CERT

28. SIGNATURE OF THE PRESIDING .IUD]CIAL OFFICER DATE Ba. .IUDGE l MAG. JUDGE CODE

29. IN COURT COMP. ` 30. OUT (}F COURT COMP. 31. TRAVEL EXPENSES 32. OTHER EXPENSES 33. TDTAL AMT.A?I'ROVED
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34. SIGNATURE OF CHIEF J'UDGE, COURT DATE 34a. .l'UDGE CODE

EF'APFEALS (OR DELEGA'I'E) Puyment

 

 

 

 

 

1- Cl __m .J'B]V. CODE 2. PERSON REPRESENTED VOUCHER NUMBER
Greer, John
3. MAG. DKTJDEF. NUMBER 4. DIST. DKTJDEF. NUMBER 5. APPEALS DKTJDEF. NUMBER 6. OTHER D 1 ,
2;04-020009-001 . mw “' -@#~~ D»C
7. IN CASEIMA'I`TER OF (Cal¢ Nlm¢) 3. PAYMENT CA'I'EGORY 9. TYPE FERSON REFRESENTED lIl. REPR.ESE TI°N TYPE
(S_eclnslru ] UN 2 l PH , -
U.S. v. Greer Felony Adult Defenclant Cnmmal ~ésé Ll - 'J
11. OFFENSE(S) CI'IARGED (Cltt U.S. Code, Tltle & Section) lfmore than one otrcnsc, llat [up to ilvc) major o|Tentes charged, according to levcr|ty ol' nflenle.
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cLEn:-:, ne ::;:js '1'“. CT.
12. ATroRNl:Y's NAME m Nm¢, M.l" Lm N¢m¢. mcmanus my mem 13. couRT ounce W.D L..‘F 1 :"J, Ev'..;` ¢ie-H|S
AND MAl LING ADI) SS m 0 Appolntln¢ Counlcl l:l C Co-Co\lnsel
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369 N M’ai.n D y sum F'"' P*“! M‘°m¢l" EI Y St.andby Coumel
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l:l Beuulc the above-named pemn repment¢d hal testified under oath or hal
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14. NAME AND MA]LING ADDRESS OF LAW I-'IRM[only provide perlul@ l
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Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
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Honorable J on McCalla
US DISTRICT COURT

